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                EXHIBIT B
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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NASSAU

           PINCUS LAW GROUP, PLLC,
                                                                                  Index No.: ____________
                                                         Plaintiff,

                                         -against-
                                                                                  VERIFIED
           MAJENICA LYNN SPRINGER and MJ CONNECTIONS, INC.,
                                                                                  COMPLAINT
                                                         Defendants.


                 Pincus Law Group, PLLC (“Pincus”), by its attorneys, Nixon Peabody LLP, as and for its

          Verified Complaint against Defendants Majenica Lynn Springer (“Majenica”) and MJ

          Connections, Inc. (“MJ Connections”) (collectively, “Defendants”), alleges as follows:

                                          PRELIMINARY STATEMENT

                 1.      This action involves Pincus, a law firm which provides default related creditor’s

          rights services. Pincus and MJ Connections entered into a contract (the “Contract”) on

          November 28, 2017, whereby Defendants agreed to provide exclusive services to Pincus in the

          State of New York. Instead, Defendants repeatedly breached the Contract’s exclusivity

          provision by providing services to other clients in the State of New York and diverting business

          away from Pincus toward these other clients. As a result, Pincus terminated the Contract on

          October 29, 2019. Pincus now seeks damages from Defendants for the lost revenue caused by

          Defendants’ work for other clients in the State of New York and the improper diversion of

          business from Pincus.

                                                      PARTIES

                 2.      Plaintiff Pincus is a domestic professional service limited liability company,

          organized and existing under the laws of the State of New York, with its principal place of business

          located at 425 RXR Plaza, Uniondale, New York, 11556.

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                 3.      Upon information and belief, Defendant Majenica Lynn Springer is a resident of

          the State of Texas.

                 4.      Upon information and belief, Defendant MJ Connections, Inc. is a Texas

          corporation, organized and existing under the laws of the State of Texas, with a principal place of

          business at 1907 McMillan Avenue, Dallas, Texas 75206.

                 5.      Although MJ Connections is not registered to do business in the State of New York,

          upon information and belief, MJ Connections regularly conducts business in the State of New

          York, including but not limited to providing services to Pincus and other clients in the State of

          New York.

                                          JURISDICTION AND VENUE

                 6.      This Court has jurisdiction over Defendants pursuant to Civil Practice Law and

          Rules (“CPLR”) §§ 301 and 302 because the acts complained of herein occurred in the State of

          New York.

                 7.      Venue is proper in this Court pursuant to CPLR § 503(a) because Pincus’s principal

          place of business is located in Nassau County.

                                            FACTUAL BACKGROUND

                 8.      On November 28, 2017, Pincus and Defendants executed the Contract. Annexed

          hereto as Exhibit A is a true and correct copy of the Contract.

                 9.      The Contract required Defendants to provide exclusive business development

          consulting services to Pincus in the State of New York, including but not limited to, the

          development of new business for Pincus and providing advice to Pincus on strategic business

          plans. See Ex. A at 1.




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                 10.     The Contract represented the Parties’ entire agreement and could only be

          modified by a written instrument signed by both Parties. See Ex. A at 3.

                 11.     The Contract was executed on November 28, 2017 and was terminated on

          October 29, 2019. See Ex. A at 1.

                                                 Prohibited Clients

                 12.     The Contract and its Addendum prohibited MJ Connections from marketing to

          certain pre-existing and prospective clients of Pincus, including Shellpoint (“SMS”), Select

          Portfolio Solutions (“SPS”), and Champion Mortgage. See Ex. A at 2, 4.

                 13.     During the course of the Contract, Defendants began marketing directly to SMS,

          breaching the Contract.

                                                 Exclusive Services

                 14.     The Contract also required Defendants to provide exclusive services to Pincus in

          the State of New York. See Ex. A at 2.

                 15.     Upon information and belief, notwithstanding the Contract’s exclusivity

          provision, MJ Connections provided services to various law firms in the State of New York,

          including Hill Wallack, a competing law firm.

                 16.     Upon information and belief, MJ Connections diverted SMS work, originally

          intended to Pincus, toward Hill Wallack, essentially eliminating all referral work from SMS to

          Pincus.

                 17.     Upon information and belief, Majenica has also encouraged clients to stop

          referring work to Pincus.




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                                      Deterioration of the Business Relationship

                 18.     The business relationship between Pincus and Defendants continued to

          deteriorate.

                 19.     Because Defendants repeatedly breached the Contract, including but not limited

           to diverting work toward other clients in the State of New York, Pincus terminated the Contract

           on October 29, 2019.

                 20.     After terminating the Contract, Pincus conducted a final accounting and

          reconciliation, paying the full balance owed to Defendants.

                 21.     Subsequently, Majenica left a voicemail for Pincus, threatening the existing and

          potential economic relationships between Pincus and certain clients.

                                                Disparaging Comments

                 22.     The Contract required Pincus and MJ Connections to avoid making any

          disparaging comments against the other party. See Ex. A at 2.

                 23.     Upon information and belief, Majenica repeatedly made disparaging comments

          about Pincus after the Contract was terminated on October 29, 2019.

                 24.     Upon information and belief, Majenica recommended a client, who was at that

          point in time a client of Pincus, stop referring work to Pincus.

                 25.     Upon information and belief, the same Pincus client subsequently terminated all

          referral work to Pincus.

                 26.     Upon information and belief, in August of 2022, Majenica incorrectly informed

          an employee of Champion Mortgage, a prohibited client included on the Addendum to the

          Contract, that Defendants had not been compensated for their services.




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                                    AS AND FOR A FIRST CLAIM FOR
                               TORTIOUS INTERFERENCE WITH CONTRACT

                 27.     Pincus repeats, reiterates, and re-alleges each and every allegation set forth in the

          foregoing paragraphs “1” through “26” as if set forth fully herein.

                 28.     Upon information and belief, Defendants have willfully and maliciously

          interfered with existing and potential economic relationships between Pincus and its clients, with

          the intent to undermine Pincus’s business.

                 29.     Upon information and belief, Defendants have solicited, intend to solicit, and

          continue to solicit certain clients to divert business away from Pincus.

                 30.     Upon information and belief, certain of Pincus’s clients have stopped referring

          work to Pincus because of Defendants’ wrongful and unjustified conduct.

                 31.     Among other things, the wrongful means deployed by Defendants include: (i)

          interfering with the work relationship between SMS and Pincus; (ii) diverting work from Pincus

          toward Hill Wallack, (iii) making disparaging comments about Pincus following termination of

          the Contract; and (iv) recommending prospective clients and employees, including other

          marketing firms, to avoid working with Pincus.

                 32.     Upon information and belief, Defendants’ interference with Pincus’s business

          relationships with certain clients was actuated by malice and with the intent to harm Pincus’s

          business.

                 33.     As a direct and proximate cause of Defendants’ actions, Pincus has been damaged

          and continues to suffer irreparable harm as a result of Defendants’ willful interference with

          Pincus’s business relationships.




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                 34.       Such harm cannot be adequately redressed at law, and Pincus will continue to

          suffer irreparable harm unless Defendants are enjoined from continued acts of tortious

          interference.

                 35.       By reason of the foregoing, Pincus seeks monetary damages caused by

          Defendants’ culpable conduct and injunctive relief preventing MJ Connections from continuing

          to engage in its unlawful practices.

                 36.       As a result of Defendants’ breach of the Contract, Pincus has been damaged in an

          amount not less than $400,000.00.

                                    AS AND FOR A SECOND CLAIM FOR
                               BREACH OF CONTRACT – PROHIBITED CLIENTS

                 37.       Pincus repeats, reiterates, and re-alleges each and every allegation set forth in the

          foregoing paragraphs “1” through “36” as if set forth fully herein.

                 38.       The Contract is a valid and binding agreement between Pincus and Defendants.

                 39.       Section 3 of the Contract provides

                           PINCUS will provide an initial list of prohibited clients and
                           prospects. MJ will not intentionally market to those clients
                           without specific approval from PINCUS. (Addendum
                           Attached).

          Contract at 2.

                 40.       The Contract prohibited Defendants from marketing to SMS.

                 41.       Defendants, however, repeatedly breached the Contract by intentionally marketing

          to SMS.

                 42.       Because of Defendants’ repeated breaches of the Contract, Pincus has been

          damaged in an amount to be determined at trial.




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                                    AND FOR A THIRD CLAIM FOR
                             BREACH OF CONTRACT – EXCLUSIVE SERVICES

                 43.     Pincus repeats, reiterates, and re-alleges each and every allegation set forth in the

          foregoing paragraphs “1” through “42” as if set forth fully herein.

                 44.     The Contract is valid and binding agreement between Pincus and Defendants.

                 45.     Pursuant to Section 3 of the Contract,

                         MJ [Connections] will provide exclusive marketing for
                         PINCUS in the State of New York. MJ will provide non-
                         exclusive services in PINCUS’S other states. For the
                         purposes of this Agreement, “exclusive” means that MJ
                         [Connections] shall not provide Services or represent any
                         other law firm in the state of New York. This does not mean
                         that MJ cannot market with other firms in said state, but
                         means that MJ will not represent any other firm in said state.
                         PIPNCUS will receive all event information in the same
                         manner as all other MJ Connections’ firms/clients and will
                         have the opportunity and notice to attend these events.

                 46.     Defendants provided services to other law firms in the State of New York,

          intentionally breaching the exclusivity provision of the Contract.

                 47.     As a result of Defendants’ breaches of the Contract, Pincus has been damaged in

          an amount to be determined at trial.

                              AS AND FOR A FOURTH CLAIM FOR
                  BREACH OF THE COVENANT OF GOOD FAITH AND FAIR DEALING

                 48.     Pincus repeats, reiterates, and re-alleges each and every allegation set forth in the

          foregoing paragraphs “1” through “47” as if set forth fully herein.

                 49.     Pincus and Defendants were parties to the Contract, the terms of which implied a

          covenant of good faith and fair dealing.

                 50.     Defendants executed the Contract with no intent to comply with any of the terms

          thereof, as evidenced by the ongoing breaches of Contract, including but not limited to the

          exclusivity and non-disparagement provisions.


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                     51.   Defendants failed to exercise good faith and to deal fairly with Pincus in fulfilling

          the terms and promises contemplated by the Contract and, instead, exercised bad faith and

          actions designed to damage Pincus.

                     52.   Defendants’ deliberate conduct resulted in simultaneous financial gain to

          Defendants and deprivation of any benefit to Pincus.

                     53.   Thus, Defendants have breached the covenant of good faith and fair dealing in the

          Contract.

                     54.   Because of Defendants’ breach of the covenant of good faith and fair dealing,

          Pincus has been damaged in an amount to be determined at trial.

                                            DEMAND FOR JURY TRIAL

                     55.   Pursuant to CPLR § 4101, Pincus demands a jury trial for all claims and issues so

          triable.

                                                PRAYER FOR RELIEF

                     56.   WHEREFORE, Pincus prays for judgment in its favor and against Defendants as

          follows:

                           1. For compensatory damages in an amount not less than $400,000.00.

                           2. For restitution in an amount to be determined at trial.

                           3. For preliminary and permanent injunctive relief against Defendants enjoining

                              them from interfering with Pincus’s current and prospective clients.

                           4. For punitive and exemplary damages.

                           5. For Pincus’s costs incurred in connection with this action, including

                              reasonable attorneys’ fees.

                           6. For pre- and post-judgment costs as permitted by law.



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                      7. For such other relief as the Court deems just and proper.




          Dated: June 14, 2023                             NIXON PEABODY LLP
                 Melville, New York
                                                           By:   /s/ Vincent D. Nguyen
                                                                 Joseph J. Ortego
                                                                 Vincent D. Nguyen
                                                                 275 Broadhollow Road, Suite 300
                                                                 Melville, New York, 11747
                                                                 Telephone: (516) 832-7500
                                                                 Facsimile: (866) 947-207
                                                                 jortego@nixonpeabody.com
                                                                 vnguyen@nixonpeabody.com

                                                                 Attorneys for Plaintiff
                                                                 Pincus Law Group, PLLC




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                                                          VERIFICATION



               STATE OF NEW YORK                 )
                                                 ) ss.:
               COUNTY OF NASSAU                  )

                       Caryn Pincus, being duly sworn, deposes and says as follows:

                      I am the Owner of Pincus Law Group, PLLC, the Plaintiff in the above-entitled action, and

               as such, I am authorized to act on behalf of Plaintiff.

                      I have read the foregoing Verified Complaint and it is true to the best of my knowledge,

           except as to matters therein stated to be upon information and belief, and as to those matters, I

          believe them to be true.




          Sworn to before me this
          ,v-M.. day of June, 2023



          Notary Public


          1  MARGARET BURKE TARAB
           Notary Publ ic, State of New York
          1'


             Registra ti on #02BU6326679
          • Qualified In Nassau County
          I
          I
           C-o mm ,ssion Expires June 22 , 20 J1:J




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                                    EXHIBIT A
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                                MJ
                                MJ CONNECTIONS
                                   CONNECTIONS LIMITED
                                               LIMITED BUSINESS
                                                       BUSINESS DEVELOPMENT
                                                                DEVELOPMENT AGRBBMBNT
                                                                            AGREEMENT



                                                                                                                28th
           This
           This Limited
                   Limited     Business
                               Business    Development
                                           Development       Agreement
                                                             Agreement         ("Agreement") is
                                                                               ("Agreement")     is made
                                                                                                    made   this 28th day
                                                                                                           this       day of  November 2017.
                                                                                                                           of November 2017, by and
                                                                                                                                             by   and
           between PINCUS
           between       PINCUS       LAW
                                      LAW GROUP,
                                             GROUP,      PLLC
                                                         PLLC (hereinafter
                                                                  (hereinafter       referred
                                                                                     referred to as
                                                                                              to  as "PINCUSj,
                                                                                                     "PINCUS"),      and
                                                                                                                     and MJ
                                                                                                                          MJ  CONNECTIONS,
                                                                                                                              CONNECTIONS,      INC.
                                                                                                                                                INC.
           (hereinafter
           (hereinafter      referred
                             referred   to
                                        to as
                                           as "MJ"),
                                               "MJ"),  (together,
                                                       (together,     the
                                                                      the "Parties").
                                                                           "Parties").


           WHEREAS,
           WHEREAS, MJ is
                    MJ is engaged
                          engaged in
                                  in the business of
                                     the business of consulting
                                                     consulting in
                                                                in the
                                                                   the legal
                                                                       legal services
                                                                             services industry;
                                                                                      industry; and
                                                                                                and


           WHEREAS,
           WHEREAS,       PINCUS
                          PINCUS      desires
                                      desires to
                                              to engage
                                                 engage   the
                                                          the services
                                                               services of
                                                                        of MJMJ to provide advice,
                                                                                to provide advice, assistance
                                                                                                   assistance and
                                                                                                              and consultation
                                                                                                                  consultation with
                                                                                                                               with
           respect
           respect to business development
                   to business   development     needs
                                                 needs  for
                                                        for PINCUS's
                                                             PINCUS's     finn;
                                                                          firm; and
                                                                                and


           WHEREAS,
           WHEREAS, MJ consultants
                    MJ consultants have
                                   have experience
                                        experience and
                                                   and expertise
                                                       expertise and
                                                                 and desire
                                                                     desire to
                                                                            to render
                                                                               render such
                                                                                      such services;
                                                                                           services;


           NOW, THEREFORE,
           NOW, THEREFORE, in
                           in consideration
                              consideration of
                                            of the
                                               the mutual
                                                   mutual promises exchanged
                                                          promises exchanged herein
                                                                             herein and
                                                                                    and other
                                                                                        other good
                                                                                              good and
                                                                                                   and valuable
                                                                                                       valuable
           consideration,
           consideration, the
                          the receipt
                              receipt and
                                      and sufficiency
                                          sufficiency of
                                                      of which
                                                         which are
                                                               are hereby
                                                                   hereby acknowledged,
                                                                          acknowledged, the
                                                                                        the Parties
                                                                                            Parties hereto
                                                                                                    hereto agree
                                                                                                           agree as
                                                                                                                 as follows:
                                                                                                                    follows:




          1.
          1.         Term.
                     Term.     Subject
                               Subject     to
                                           to the
                                               the terms
                                                    terms    and    provisions of
                                                             and provisions       of the
                                                                                      the Agreement,
                                                                                           Agreement,    PINCUS
                                                                                                         PINCUS       hereby
                                                                                                                      hereby    engages
                                                                                                                                engages   MJ
                                                                                                                                          MJ asas a business
                                                                                                                                                  a business
           development
           development       consulting
                             consulting      company,
                                             company,       and
                                                            and MJMJ hereby
                                                                       hereby    accepts
                                                                                 accepts    such
                                                                                            such engagement
                                                                                                  engagement    until either
                                                                                                                until    either  party terminates
                                                                                                                                 party  terminates this
                                                                                                                                                     this
           Agreement
           Agreement       by  giving
                           by giving    sixty
                                        sixty    (60)
                                                 (60)   days
                                                        days   written
                                                               written    notice
                                                                          notice   to
                                                                                   to  the
                                                                                       the other
                                                                                           other  party.
                                                                                                  party.


          2.
          2.         Services,
                     Services.        During
                                      During     the
                                                 the tenn
                                                       term     of
                                                                of this
                                                                    this Agreement,
                                                                              Agreement,        MJ agrees
                                                                                                MJ     agrees     to  provide business
                                                                                                                  to provide       business development
                                                                                                                                                 development        consulting
                                                                                                                                                                    consulting
           services to PINCUS. Such services will consist of assistance
           services    to  PINCUS.         Such     services       will     consist    of  assistance        with
                                                                                                             with    developing
                                                                                                                     developing         new business,
                                                                                                                                        new    business, developing
                                                                                                                                                             developing       and
                                                                                                                                                                              and
           advising
           advising     the
                        the client
                             client    on
                                       on aa strategic
                                              strategic      business plan,
                                                             business         plan, and
                                                                                      and assisting
                                                                                             assisting      with
                                                                                                            with    further
                                                                                                                    further    developing
                                                                                                                               developing        relationships
                                                                                                                                                 relationships       with
                                                                                                                                                                     with    existing
                                                                                                                                                                             existing
           clients
           clients  (the
                    (the "Services").
                           "Services").         MJ's
                                                MJ's     services
                                                         services        will
                                                                         will        provided remotely.
                                                                                 be provided
                                                                                 be                 remotely.         MJ
                                                                                                                      MJ agrees
                                                                                                                            agrees     to  perform the
                                                                                                                                       to perform       the Services
                                                                                                                                                             Services     in
                                                                                                                                                                          in
           accordance
           accordance       with all
                            with    all applicable
                                        applicable        federal,
                                                          federal,       state
                                                                         state andand local
                                                                                       local    laws,
                                                                                                laws,     rules
                                                                                                          rules    and
                                                                                                                   and regulations.
                                                                                                                         regulations.         MJ agrees
                                                                                                                                              MJ   agrees     to perform the
                                                                                                                                                              to perform      the
           Services
           Services     in
                        in accordance
                           accordance        with
                                             with     generally
                                                      generally         accepted
                                                                        accepted      standards
                                                                                      standards        of
                                                                                                       of  MJ's
                                                                                                           MJ's     profession
                                                                                                                    profession        or
                                                                                                                                      or  trade.
                                                                                                                                          trade.


          3.
          3.           Remuneration.
                       Remuneration. In
                                     In consideration
                                        consideration for
                                                      for the
                                                          the Services
                                                              Services MJ
                                                                       MJ will
                                                                          will provide to
                                                                               provide to PINCUS,
                                                                                          PINCUS, PINCUS
                                                                                                  PINCUS shall pay 10°/4.
                                                                                                         shall pay 10%
           of
           of the
              the amount
                  amount      billed
                              billed    to
                                        to the
                                           the Client/Servicer
                                                 Client/Servicer     on
                                                                     on all
                                                                          all new
                                                                              new referrals
                                                                                   referrals     {for
                                                                                                 (for  any
                                                                                                       any state)
                                                                                                             state) directed
                                                                                                                    directed    to PINCUS
                                                                                                                                to  PINCUS      by  MJ
                                                                                                                                                by MJ
           at
           at each
              each milestone
                    milestone       as
                                    as the
                                       the Servicer
                                             Servicer      remits
                                                           remits payment.
                                                                  payment       PINCUS
                                                                                PINCUS       agrees
                                                                                             agrees   to
                                                                                                      to pay
                                                                                                          pay    MJ
                                                                                                                 MJ within
                                                                                                                    within   thirty
                                                                                                                             thirty    (30)
                                                                                                                                       (30) days
                                                                                                                                            days   of
                                                                                                                                                   of
         receiving
         receiving      said
                        said disbunement.
                                disbursement.             In
                                                          In the
                                                              the event
                                                                    event     this
                                                                              this contract
                                                                                     contract      is
                                                                                                   is terminated
                                                                                                       terminated        for
                                                                                                                         for any
                                                                                                                              any reason,
                                                                                                                                    reason,     PINCUS
                                                                                                                                                PINCUS        agrees
                                                                                                                                                              agrees to to
         continue
         continue     to  pay this
                      to pay     this I  0% fee
                                        10%    fee onon anyany   monies
                                                                 monies        received
                                                                               received      in
                                                                                             in   conjunction
                                                                                                  conjunction        with
                                                                                                                     with    business
                                                                                                                             business     secured
                                                                                                                                          secured     by
                                                                                                                                                      by  MJ
                                                                                                                                                          MJ     during
                                                                                                                                                                 during    the
                                                                                                                                                                           the
         contract
         contract    perio<!,for
                       eriod    for a a period
                                        period    of    three (3)
                                                  of three       (3)   years
                                                                       years     from
                                                                                 from    the
                                                                                         the    termination
                                                                                                termination       of
                                                                                                                  of   the
                                                                                                                       the   contract.
                                                                                                                             contract.      If
                                                                                                                                            If  PINCUS
                                                                                                                                                PINCUS       receives
                                                                                                                                                             receives
       +payment
           ayment     for
                      for services
                            services     rendered
                                         rendered       during
                                                        during      those
                                                                    those    33 years,
                                                                                 years,    after
                                                                                           after thethe 3-year
                                                                                                          3-year    period expires,
                                                                                                                    period     expires,      PINCUS
                                                                                                                                             PINCUS      will
                                                                                                                                                         will    still
                                                                                                                                                                 still disburse
                                                                                                                                                                       disburse

       ~ those
         those monies
                  monies     to MJ
                             to   MJ within
                                       within    thirty
                                                 thirty     (30)
                                                            (30)    days
                                                                    days    of
                                                                            of   receiving
                                                                                 receiving        said
                                                                                                  said   payment
                                                                                                         payment.     .

.t,Ci .~ .PINCUS will provide this payment along with a monthly accounting of referrals billed to each Servicer
               INCUS     will
                  payments
                                 provide
                                 received
                                            this
                                              from
                                                     10%
                                                     10% payment
                                                       each   Servicer
                                                                         along
                                                                            for
                                                                                  with
                                                                                  referrals
                                                                                              a monthly
                                                                                                  received
                                                                                                             accounting
  t'-\),~ ~d payments received from each Servicer for referrals received in the prior month, including Servicer name,
                                                                                                               in the prior
                                                                                                                            of referrals      billed    to each
                                                                                                                                                          Servicer
                                                                                                                                                                     Servicer

                                                                                                                                                                        name,
                                                                                                                               month,    including
 IJ~f
 o    file
      file name,
           name, internal
                 internal file
                          file number,
                               number, referral
                                       referral date,
                                                date, and billing amount
                                                      and billing amount by the 15                                     15thth
                                                                                                        of the following month. PINCUS
                                                                                                               by the         of the following          month.       PINCUS
  ~·      will work
           will  work with
                        with MJ  to reconcile
                             MJ to  reconcile     payments received
                                                  payments   received    on referrals
                                                                         on referrals   secured
                                                                                        secured    by MJ
                                                                                                   by MJ on  on aa monthly
                                                                                                                   monthly basis.
                                                                                                                             basis. MJ
                                                                                                                                    MJ will
                                                                                                                                       will then
                                                                                                                                              then
          provide PINCUS
          provide    PINCUS    with
                               with   an
                                      an invoice.
                                         invoice.     MJ's
                                                      MJ's invoice
                                                           invoice    is
                                                                      is due
                                                                         due and     payable within
                                                                              and payable     within  thirty
                                                                                                      thirty    (30)
                                                                                                                (30)  days
                                                                                                                      days of
                                                                                                                           of PINCUS's
                                                                                                                              PINCUS's     receipt
                                                                                                                                           receipt

          of
          of each
              each invoice.
                    invoice.




                                                                                                                                                                                    11
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      MJ
      MJ will
            will    provide exclusive
                    provide     exclusive        marketing
                                                 marketing        for
                                                                  for PINCUS
                                                                        PINCUS         in
                                                                                       in the
                                                                                           the state
                                                                                                  state of     New York.
                                                                                                           of New     York.      MJ will
                                                                                                                                 MJ     will    provide non-exclusive
                                                                                                                                               provide     non-exclusive
                                                                                                                          "exclusive"
      services
      services       in
                     in PINCUS's
                        PINCUS's           other
                                           other   states.
                                                   states.      For the
                                                               For          purposes of
                                                                      the purposes         of this
                                                                                                this Agreement,
                                                                                                       Agreement,         "exclusive" means    means    that
                                                                                                                                                        that MJMJ shall
                                                                                                                                                                    shall not
                                                                                                                                                                            not
      provide Services
      provide       Services     or
                                 or represent
                                      represent      any
                                                     any     other
                                                             other    law
                                                                      law    firm
                                                                             firm   in
                                                                                    in   the
                                                                                         the   state
                                                                                                state  of
                                                                                                        of   New
                                                                                                             New    York.
                                                                                                                    York.      This
                                                                                                                               This     does
                                                                                                                                        does    not
                                                                                                                                                not  mean
                                                                                                                                                     mean     that
                                                                                                                                                              that  MJ
                                                                                                                                                                    MJ    cannot
                                                                                                                                                                          cannot
      market
      market      with
                  with    other
                          other   firms
                                  firms      that  perform work
                                             that perform         work     in
                                                                           in said
                                                                                said state,
                                                                                       state, butbut means
                                                                                                       means      that  MJ will
                                                                                                                  that MJ     will     not
                                                                                                                                       not represent
                                                                                                                                             represent     any
                                                                                                                                                           any other
                                                                                                                                                                 other   firm
                                                                                                                                                                         firm   in
                                                                                                                                                                                in
                                                                                                                                                       Connections'
      said
      said state.
              state.    PINCUS
                        PINCUS         will
                                       will   receive
                                              receive      all
                                                           all event
                                                                event    information
                                                                         information          in
                                                                                              in the
                                                                                                   the same
                                                                                                        same manner
                                                                                                                 manner      as
                                                                                                                             as allall other
                                                                                                                                        other    MJ
                                                                                                                                                 MJ Connections'
      firms/clients and
      firms/clients        and will
                                 will    have
                                         have thethe opportunity
                                                       opportunity         and
                                                                           and    notice
                                                                                  notice     to
                                                                                             to   attend
                                                                                                  attend     these
                                                                                                             these   events.
                                                                                                                     events.



      PINCUS
      PINCUS      will
                  will provide an
                       provide    an initial
                                      initial list
                                              list of  prohibited client
                                                    of prohibited client  and prospects. MJ
                                                                          and prospects.   MJ will
                                                                                              will not
                                                                                                   not intentionally
                                                                                                       intentionally market
                                                                                                                     market to
                                                                                                                            to those
                                                                                                                               those
      clients without specific approval from
      clients without    specific   approval     from   PINCUS.
                                                        PINCUS.   (Addendum
                                                                  (Addendum      Attached)
                                                                                 Attached)


     4.
     4.           Reimbunement
                  Reimbursement                 of
                                                of Expenses.
                                                     Expenses.          PINCUS agrees
                                                                        PINCUS        agrees      to
                                                                                                  to reimburse
                                                                                                       reimburse         MJ for
                                                                                                                         MJ     for ordinary
                                                                                                                                       ordinary       and
                                                                                                                                                      and necessary
                                                                                                                                                            necessary       expenses
                                                                                                                                                                            expenses
      MJ incurs
      MJ    incurs     in   performing Services
                       in performing            Services       previously approved
                                                               previously        approved        by PINCUS.
                                                                                                 by    PINCUS.           MJ will
                                                                                                                         MJ      will    bill expenses
                                                                                                                                         bill   expenses monthly
                                                                                                                                                               monthly      and
                                                                                                                                                                            and
      PINCUS
      PINCUS          shall
                      shall reimburse
                              reimburse         MJ for
                                                MJ           all expenses
                                                       for all     expenses      incurred
                                                                                  incurred      in
                                                                                                in connection
                                                                                                     connection          with
                                                                                                                         with     the
                                                                                                                                  the furnishing
                                                                                                                                         furnishing        of
                                                                                                                                                           of  Services
                                                                                                                                                               Services      under
                                                                                                                                                                             under     this
                                                                                                                                                                                       this
      Agreement. These
      Agreement.           These      expenses
                                      expenses        include
                                                      include        but are
                                                                     but   are not
                                                                                not limited
                                                                                      limited      to
                                                                                                   to conference
                                                                                                         conference         registration
                                                                                                                            registration          fees,   airfare,
                                                                                                                                                  fees, airfare,     dining
                                                                                                                                                                     dining     and
                                                                                                                                                                                and
      lodging,
      lodging,       auto
                     auto andand other
                                    other    transportation
                                             transportation            as
                                                                       as needed
                                                                           needed      for
                                                                                       for any
                                                                                            any and and allall tmvel.
                                                                                                                travel.       MJ
                                                                                                                              MJ agrees
                                                                                                                                      agrees     to
                                                                                                                                                 to seek      pre-approval of
                                                                                                                                                      seek pre-approval           of these
                                                                                                                                                                                      these
      expenses
      expenses        whenever
                      whenever         possible. MJ
                                       possible.        MJ will
                                                              will     seek
                                                                       seek and
                                                                              and obtain
                                                                                     obtain     approval
                                                                                                approval         for
                                                                                                                 for any      extmordinary
                                                                                                                       any extraordinary               or
                                                                                                                                                       or  unusual
                                                                                                                                                           unusual      expenses
                                                                                                                                                                        expenses       as
                                                                                                                                                                                       as
      necessary.
      necessary.         PINCUS
                         PINCUS         will
                                        will    reimburse
                                                 reimburse         travel
                                                                   travel    expenses
                                                                             expenses       based on
                                                                                            based       on itemized
                                                                                                             itemized        statements
                                                                                                                             statements          MJ submits
                                                                                                                                                 MJ    submits     and
                                                                                                                                                                   and will
                                                                                                                                                                          will   include
                                                                                                                                                                                 include
      actual
      actual    bills, receipts,
                bills,    receipts,     or
                                        or other
                                             other     evidence
                                                       evidence         of
                                                                        of expenditure
                                                                            expenditure         as
                                                                                                as required
                                                                                                     required       by PINCUS.
                                                                                                                    by   PINCUS.              Reimbursement
                                                                                                                                              Reimbursement            is
                                                                                                                                                                       is due
                                                                                                                                                                          due and
                                                                                                                                                                                and
      payable within
      payable       within     thirty
                               thirty    (30)
                                          (30)    days
                                                  days    of
                                                          of   PINCUS's
                                                               PINCUS's          receipt
                                                                                 receipt     ofan
                                                                                             of   an    invoice
                                                                                                        invoice      for
                                                                                                                     for   expenses.
                                                                                                                           expenses.


     5.
     5.           Confidentiality.
                  Confidentiality.              MJ
                                                MJ shall
                                                       shall treat
                                                               treat as as confidential
                                                                             confidential           and
                                                                                                    and not     possess or
                                                                                                          not possess        or use,
                                                                                                                                   use, except
                                                                                                                                         except         as
                                                                                                                                                        as reasonably
                                                                                                                                                             reasonably        necessary
                                                                                                                                                                               necessary       or
                                                                                                                                                                                               or
      appropriate
      appropriate        in   providing the
                         in providing           the Services
                                                      Services        under
                                                                      under       this
                                                                                  this Agreement,
                                                                                         Agreement,          any
                                                                                                             any    Confidential
                                                                                                                    Confidential         Information
                                                                                                                                         Information             relating
                                                                                                                                                                 relating     to
                                                                                                                                                                              to  the
                                                                                                                                                                                  the
      business affairs
      business      affairs     and
                                and activities
                                        activities       of
                                                         of PINCUS
                                                            PINCUS            (and/or
                                                                              (and/or       any
                                                                                            any of of its   parent, subsidiary,
                                                                                                       its parent,       subsidiary,       and
                                                                                                                                           and affiliated
                                                                                                                                                    affiliated       companies)
                                                                                                                                                                     companies)
      including,
      including,       but not
                       but    not limited
                                     limited      to,
                                                  to, the
                                                        the identification
                                                             identification            of
                                                                                       of clients
                                                                                           clients     and
                                                                                                       and suppliers,
                                                                                                              suppliers,      financial
                                                                                                                              financial       information
                                                                                                                                              information            pertaining to
                                                                                                                                                                     pertaining       to
      PINCUS
      PINCUS        or
                    or itsits clients
                               clients      and/or
                                            and/or      PINCUS's
                                                        PINCUS's           business and
                                                                           business         and marketing
                                                                                                   marketing       plans,
                                                                                                                   plans,     personnel
                                                                                                                              personnel         information,
                                                                                                                                                 information,           technical
                                                                                                                                                                        technical
      information,
      information,          and
                            and allall documents.
                                        documents,          and
                                                            and things
                                                                   things        related
                                                                                 related      to
                                                                                              to PINCUS's
                                                                                                  PINCUS's         business and
                                                                                                                   business        and activities
                                                                                                                                         activities         disclosed
                                                                                                                                                            disclosed       to
                                                                                                                                                                            to MJ
                                                                                                                                                                                MJ in in the
                                                                                                                                                                                           the
                                                                         Information"
     course
     course      ofMJ's
                 of MJ's Services.
                               Services.         "Confidential
                                                 "Confidential           Information"            includes
                                                                                                 includes       non-publicly
                                                                                                                non-publicly          available
                                                                                                                                      available         data,
                                                                                                                                                        data,    information
                                                                                                                                                                 information         or
                                                                                                                                                                                     or  items
                                                                                                                                                                                         items
      (including
      (including       third
                       third     party data,
                                 party     data, information
                                                    information           or
                                                                          or items)
                                                                               items)      in
                                                                                           in whatever
                                                                                                whatever       form
                                                                                                               form    or
                                                                                                                       or medium,
                                                                                                                            medium,         provided by
                                                                                                                                            provided           by PINCUS
                                                                                                                                                                    PINCUS         to MJ
                                                                                                                                                                                  to   MJ
     regardless
     regardless        of
                       of whether
                             whether       such
                                           such da~ data, information
                                                            information             or
                                                                                    or items
                                                                                        items      are
                                                                                                   are marked
                                                                                                        marked       or
                                                                                                                     or identified
                                                                                                                          identified       as
                                                                                                                                           as "Confidential".
                                                                                                                                               "Confidential".


     6.
     6.          Mutual
                 Mutual       Non-Disparagement.
                              Non-Disparagement.                 Neither party
                                                                 Neither    party shall,
                                                                                      shall,    at
                                                                                                at any
                                                                                                     any time
                                                                                                            time during
                                                                                                                     during      or
                                                                                                                                 or the
                                                                                                                                      the term
                                                                                                                                            term of   of this
                                                                                                                                                           this agreement
                                                                                                                                                                  agreement       or
                                                                                                                                                                                   or at
                                                                                                                                                                                      at
      any
      any time
             time thereafter,
                   thereafter,      make
                                    make    statements
                                            statements         or
                                                               or representations,
                                                                  representations,           or
                                                                                             or otherwise
                                                                                                 otherwise        communicate,
                                                                                                                  communicate,               directly
                                                                                                                                             directly       or
                                                                                                                                                            or indirectly,
                                                                                                                                                                indirectly,     in
                                                                                                                                                                                in
      writing,
      writing,    orally
                  orally    or
                            or  otherwise,
                                otherwise,      or
                                                or   take
                                                     take    any
                                                             any   action
                                                                   action   which
                                                                            which      may,
                                                                                       may,       directly
                                                                                                  directly     or
                                                                                                               or    indirectly,
                                                                                                                     indirectly,        disparage
                                                                                                                                        disparage         or
                                                                                                                                                          or   be
                                                                                                                                                               be  damaging
                                                                                                                                                                   damaging        to
                                                                                                                                                                                   to
      the
      the other    party (including
            other party     (including      any
                                            any    of
                                                   of   the
                                                        the   Company's
                                                              Company's        subsidiaries,
                                                                               subsidiaries,          other
                                                                                                      other    affiliates,
                                                                                                               affiliates,       officers,
                                                                                                                                 officers,       directors,
                                                                                                                                                 directors,       employees,
                                                                                                                                                                  employees,
      partners or
      partners    or stockholders);
                       stockholders);       provided that
                                            provided        that nothing
                                                                  nothing     in
                                                                              in this
                                                                                   this Section
                                                                                         Section         shall  preclude either
                                                                                                         shall preclude          either     party from
                                                                                                                                            party      from      making
                                                                                                                                                                 making     truthful
                                                                                                                                                                            truthful

      statements
      statements       or disclosures
                       or  disclosures thatthat areare required
                                                         required      by
                                                                       by applicable
                                                                          applicable         law,
                                                                                             law,    regulation
                                                                                                     regulation         or
                                                                                                                        or   legal
                                                                                                                             legal    process.
                                                                                                                                      process.


     7.
     7.       Marketing
              Marketing Material.
                        Material.    All
                                     All marketing
                                           marketing     material
                                                         material   such
                                                                    such as     presentations and
                                                                           as presentations   and tmining
                                                                                                  training materials
                                                                                                           materials distributed
                                                                                                                     distributed on
                                                                                                                                 on

      behalf of
      behalf of PINCUS
                PINCUS  must
                        must   be approved
                               be approved     of
                                               of inin advance
                                                       advance    of
                                                                  of its
                                                                     its distribution.
                                                                         distribution.


     8.
     8.           Miscellaneous.
                  Miscellaneous.


                 (a)
                 (a) The
                       The rights
                             rights    and
                                       and obligations
                                             obligations        of
                                                                of PINCUS
                                                                    PINCUS        and
                                                                                  and MJMJ under
                                                                                              under     this
                                                                                                        this Agreement
                                                                                                               Agreement      shall
                                                                                                                              shall be be binding
                                                                                                                                          binding uponupon and
                                                                                                                                                            and inure
                                                                                                                                                                 inure

     to
     to the    benefit of
         the benefit       of their
                               their   respective
                                       respective       successors
                                                        successors       and
                                                                         and assigns.
                                                                              assigns.      Neither party
                                                                                            Neither      party hereto
                                                                                                                 hereto  may
                                                                                                                         may assign
                                                                                                                                 assign   this
                                                                                                                                          this Agreement
                                                                                                                                                 Agreement     or
                                                                                                                                                               or any
                                                                                                                                                                   any
     right
     right   or
             or obligation
                  obligation       hereunder to
                                   hereunder       to any
                                                       any   other
                                                             other    perso~
                                                                      person,     corpomtion
                                                                                  corporation       or
                                                                                                    or   other
                                                                                                         other   entity
                                                                                                                 entity  without
                                                                                                                         without     the
                                                                                                                                      the prior
                                                                                                                                          prior   written
                                                                                                                                                  written  consent
                                                                                                                                                           consent     of
                                                                                                                                                                       of

     the
     the other
           other    party hereto,
                    party    hereto,     to be granted
                                         to be   granted     or withheld in its sole discretion.
                                                             or   withheld     in   its sole   discretion.



              (b) MJ
              (b)  MJ assigns
                        assigns   and
                                  and agrees
                                      agrees    to assign
                                                to assign   to
                                                            to PINCUS
                                                                 PINCUS      or its nominee
                                                                             or its nominee all
                                                                                            all rights
                                                                                                 rights   in
                                                                                                          in inventions.
                                                                                                              inventions,      digitally
                                                                                                                               digitally created
                                                                                                                                         created
     artwork
     artwork  or
               or other   proprietary information
                  other proprietary    information      conceived
                                                        conceived       by
                                                                        by MJ
                                                                           MJ   for
                                                                                for  PINCUS
                                                                                     PINCUS  during
                                                                                             during     the
                                                                                                        the  term
                                                                                                             term    of
                                                                                                                     of   this
                                                                                                                          this Agreement
                                                                                                                               Agreement     with
                                                                                                                                             with
     respect
     respect to
             to any
                 any work
                       work   that
                              that MJ  performs under
                                    MJ performs     under this
                                                             this Agreement.
                                                                    Agreement.
                                                                                                                                                                                                22
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              (c)
              (c) All
                   All notices
                         notices     required
                                     required     to
                                                  to bebe given
                                                          given   under the
                                                                  under     the tenns
                                                                                 terms    hereunder,
                                                                                          hereunder,    or
                                                                                                        or which
                                                                                                           which      either
                                                                                                                      either    of
                                                                                                                                of the    parties may
                                                                                                                                    the parties   may desire
                                                                                                                                                         desire

     to give
     to  give hereunder,
              hereunder,       shall
                               shall    be in
                                       be   in writing
                                               writing     and
                                                           and delivered
                                                                delivered      personally or
                                                                               personally      or sent
                                                                                                  sent by
                                                                                                       by registered
                                                                                                           registered       or
                                                                                                                             or certified
                                                                                                                                certified   mail,
                                                                                                                                            mail,  return
                                                                                                                                                   return
     receipt
     receipt  requested.,
              requested,      postage
                              postage      prepaid,
                                           prepaid,     addressed.
                                                        addressed     as
                                                                      as  follows:
                                                                          follows:



                              MJ
                              MJ Connections,
                                 Connections, Inc.
                                              Inc.


                              1907
                              1907 McMillan
                                   McMillan Ave.
                                            Ave.


                              Dallas,
                              Dallas, TX
                                      TX 75206
                                         75206




                              Pincus
                              Pincus Law
                                     Law Group
                                         Group


                              425
                              425 RXR
                                  RXR Plaza
                                      Plaza


                              Uniondale,
                              Uniondale, NY l11556
                                         NY   1556

                or
                or toto such
                         such other
                                  other     address
                                            address     or
                                                        or the
                                                           the attention
                                                               attention      of
                                                                               of such
                                                                                   such other
                                                                                          other     person or
                                                                                                    person        persons as
                                                                                                               or persons    as the   party to
                                                                                                                                 the party    to whom
                                                                                                                                                   whom notice
                                                                                                                                                            notice    is
                                                                                                                                                                      is
     given
     given     may
               may     have
                       have   theretofore
                              theretofore         designated
                                                  designated     by
                                                                 by   notice
                                                                      notice     to
                                                                                 to  the
                                                                                     the  other
                                                                                          other     party
                                                                                                    party   hereto.
                                                                                                            hereto.    Any
                                                                                                                       Any    notice
                                                                                                                              notice   given
                                                                                                                                       given    in
                                                                                                                                                in  accordance
                                                                                                                                                    accordance       with
                                                                                                                                                                     with
     the
     the foregoing
           foregoing       shall
                           shall be be deemed
                                          deemed      to  have been
                                                      to have  been givengiven     when
                                                                                   when     delivered
                                                                                            delivered      personally or
                                                                                                           personally     or on
                                                                                                                             on thethe day
                                                                                                                                       day next
                                                                                                                                             next following
                                                                                                                                                    following      the
                                                                                                                                                                   the
     date
     date upon
             upon    which
                     which      it
                                it shall
                                    shall    have   been deposited
                                             have been      deposited in   in the
                                                                               the United
                                                                                     United      States
                                                                                                 States   mail.
                                                                                                          mail.


     ((d)d) This
            This Agreement
                   Agreement       represents
                                   represents      the
                                                   the entire
                                                        entire     contract
                                                                   contract      between the
                                                                                 between     the Parties
                                                                                                    Parties    with
                                                                                                               with   respect
                                                                                                                      respect    to
                                                                                                                                 to the
                                                                                                                                    the subject
                                                                                                                                        subject   matter
                                                                                                                                                  matter     hereof
                                                                                                                                                             hereof
     and
      and shall
             shall not   be modified.
                    not be   modified      or
                                           or affected
                                               affected      by   any
                                                             by any     offer,
                                                                        offer,    proposal,
                                                                                  proposal,      statement
                                                                                                 statement       or
                                                                                                                 or representation,
                                                                                                                    representation,     oral
                                                                                                                                        oral   or
                                                                                                                                               or written,
                                                                                                                                                  written,    made
                                                                                                                                                              made
      by
      by   or
           or  for
               for  any  party
                    any party   in
                                in   connection
                                     connection       with
                                                      with     the
                                                               the   negotiation
                                                                     negotiation      of
                                                                                       of the
                                                                                          the   terms
                                                                                                terms      hereof.
                                                                                                           hereof.    This
                                                                                                                      This    Agreement
                                                                                                                              Agreement      may
                                                                                                                                             may  be
                                                                                                                                                  be    changed
                                                                                                                                                        changed     or
                                                                                                                                                                    or
      modified
      modified      only  by aa written
                    only by      written     instrument
                                             instrument        signed
                                                               signed     by each
                                                                          by   each ofof the
                                                                                          the Parties
                                                                                                Parties     hereto.
                                                                                                            hereto.


     (e)
     (e) This   Agreement shall
         This Agreement      shall be governed
                                   be  governed      by and
                                                     by and construed
                                                            construed under
                                                                      under the
                                                                            the laws
                                                                                laws of
                                                                                     of the
                                                                                        the State
                                                                                            State of
                                                                                                  of Texas
                                                                                                     Texas governing
                                                                                                           governing contracts
                                                                                                                     contracts
     made
     made andand to be performed
                 to be performed in  in that
                                        that state.
                                              state.


     (f) This Agreement
     (f) This   Agreement      may  be executed.
                               may be  executed    in
                                                   in several
                                                       several  counterparts,
                                                                counterparts, each of which
                                                                              each of which will
                                                                                            will be deemed
                                                                                                 be deemed an
                                                                                                           an original
                                                                                                              original but all
                                                                                                                       but all of
                                                                                                                               of
     which
     which    will
              will  constitute one
                    constitute       and the
                                 one and  the same    instrument.
                                               same instrument.


     (g)
     (g) The
          The invalidity
                  invalidity     or unenforceability of
                                 or unenforceability   of any  provision of
                                                          any provision   of this
                                                                             this Agreement
                                                                                   Agreement      shall
                                                                                                  shall not
                                                                                                          not affect
                                                                                                                affect the
                                                                                                                       the validity
                                                                                                                            validity or
                                                                                                                                     or
     enforceability
     enforceability          of
                             of any
                                any  other
                                     other  provisions
                                            provisions of
                                                       of this
                                                          this Agreement,
                                                               Agreement,    which
                                                                             which    shall
                                                                                      shall  remain
                                                                                             remain    in
                                                                                                       in  full
                                                                                                           full  force
                                                                                                                 force  and
                                                                                                                        and  effect.
                                                                                                                             effect.


              In
              In Witness
                 Witness Whereof,
                         Whereof, the parties have
                                  the parties have executed
                                                   executed this
                                                            this Agreement
                                                                 Agreement as
                                                                           as of
                                                                              of the
                                                                                 the day
                                                                                     day and
                                                                                         and year first above
                                                                                             year first above

     written.
     written.




     Pincus
     Pincus Law
            Law Group,
                Group, PLLC
                       PLLC                                                       MJ
                                                                                  MJ Connections,
                                                                                     Connections, Inc.
                                                                                                  Inc.




     By:     Caryn   Pincus                                                       By:     M   enica   L.   Springer




     Date:                                                                        Date:


                                                                                                                                                                         3
                                                                                                                                                                         3
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                                                                                 #: 25 06/13/2023




           FIRST
           FIRST        ADENDUM
                        ADENDUM TO MJ CONNECTIONS
                                TO MJ CONNECTIONS BUSINESS
                                                  BUSINESS DEVELOPMENT
                                                           DEVELOPMENT CONTRACT
                                                                       CONTRACT

                        Shellpoint
                        Shellpoint
                        Select
                        Select  Portfolio Solutions
                                Portfolio     Solutions ("SPS")
                                                        ("SPS")
                        Champion
                        Champion       Mortgage
                                       Mortgage




           Pincus
           Pincus Law Group,
                  Law Group, PLLC
                             PLLC                                 MJ
                                                                  MJ      Connections, Inc.
                                                                          Connections, Inc.




          ~
          By:   Caryn     Pinc                                    By:     Majenica   L.   Springer


                                                                  X                                  ::,


          Date:
          Date:                  I
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                                I T)                              Date:
